              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:05-cr-00023-MR-DLH-11


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                    ORDER
                                 )
                                 )
STEVEN LYNN MILAM,               )
                                 )
                   Defendant.    )
________________________________ )


      THIS MATTER is before the Court on the Government’s Motion to

Destroy Evidence [Doc. 400] and the Government’s Amended Motion to

Destroy Evidence [Doc. 403].

      In its Amended Motion, the Government seeks permission to destroy

the evidence in the above-referenced case, specifically, the drug

paraphernalia involved in violation number 2, which consists of two mirrors,

a small tin and an empty pill bottle and currently in the custody of the Office

of Probation.    The Defendant does not object to the Government’s




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Amended Motion. For the reasons stated therein, and for cause shown,

the Government’s Amended Motion is granted.

     IT IS, THEREFORE, ORDERED that the Government’s Amended

Motion to Destroy Evidence [Doc. 403] is GRANTED.

     IT IS FURTHER ORDERED that the Government’s Motion to Destroy

Evidence [Doc. 400] is DENIED AS MOOT.

     IT IS SO ORDERED.        Signed: October 4, 2013




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